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9

10                   IN THE UNITED STATES DISTRICT COURT
11
                       CENTRAL DISTRICT OF CALIFORNIA
12

13                               WESTERN DIVISION
14
     Rachel Yates,                           Case No.: 2:21-cv-7491
15
                  Plaintiff,
16
                                             COMPLAINT FOR PATENT
17   vs.                                     INFRINGEMENT;
18
     Amazon.com, Inc.,                       DEMAND FOR JURY
19
                  Defendant.                 TRIALFIRST AMENDED
20                                           COMPLAINT FOR PATENT
                                             INFRINGEMENT;
21

22                                           DEMAND FOR JURY TRIAL
23

24                   COMPLAINT FOR PATENT INFRINGEMENT
25

26

27
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28   FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT                  CASE
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1            Plaintiff Rachel Yates, by and through her attorneys, files this Complaint
2
     for Patent Infringement and Demand for Jury Trial against Amazon.com, Inc.
3

4    (“Defendant” or “Amazon”) and alleges as follows:
5

6

7                                      THE PARTIES
8
        1. Ms. Yates is a natural person who residents in Los Angeles, California.
9
     She is the inventor and owner of the entire interest of the patent-in-suit.
10
        2. Defendant Amazon is a corporation organized and existing under the laws
11
     of the State of Delaware, with its principal place of business in Seattle,
12

13
     Washington.

14                            JURISDICTION AND VENUE
15      3. This action arises under the Patent Laws of the United States, 35 U.S.C. §§
16   1 et seq.
17
        4. This Court has federal question jurisdiction under 28 U.S.C. §§ 1331 and
18
     1338.
19
        5. This Court has personal jurisdiction over Defendant. Defendant conducts
20
     business and has committed acts of infringement and has induced acts of patent
21

22   infringement by others in this judicial district and has contributed to patent
23   infringement by others in this district, the State of California, and elsewhere in
24   the United States.
25

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1
        6. Venue is proper in this Court under 28 U.S.C. §§ 1391(b), (c) and 1400(b)
2
     in that this is the judicial district in which defendant has committed acts of
3

4
     infringement and has regular and established places of business.

5                                   BACKGROUND FACTS
6       7. Ms. Yates conceived of a new animal harness for use in exercise to
7    improve the health of animals while being comfortable to wear, among other
8
     benefits. She was a precocious inventor, having invented the subject matter of the
9
     patent in suit at the age of eleven.
10
        8. The invention won Ms. Yates the first-place prize at an invention contest,
11
     with the prize including legal services for drafting and submitting a patent
12

13   application for the invention as well as United States Patent and Trademark
14   Office (USPTO) fees. All USPTO fees were paid by the prosecuting patent
15   attorney, Mr. Andy Arismendi.
16      9. The patent application for Ms. Yates’ invention was filed on March 27,
17
     2003 and issued on March 23, 2004 as U.S. Patent Serial No. 6,708,650 (the ‘650
18
     Patent). A true and correct copy of the ‘650 Patent is attached as Exhibit A.
19
        10.Ms. Yates is the sole and exclusive owner of all right, title, and interest, in
20

21
     the ‘650 Patent.

22      11.Due to extraordinary circumstances, including the death of the prosecuting
23   patent attorney Mr. Arismendi with the attendant breakdown in communication
24   with Ms. Yates, the patent expired in 2008 due to non-payment of maintenance
25
     fees. Ms. Yates had no notice and no knowledge of the expiration of the patent
26
     from either the USPTO or the prosecuting attorney.
27
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1
          12.On or around September 10, 2020, Ms. Yates discovered the patent was
2
     expired and petitioned the USPTO to accept unintentionally delayed payment of
3

4
     maintenance fees in an expired patent. The petition was eventually granted with

5    notice mailed on June 25, 2021. The patent is considered as not having expired at
6    the end of the grace period for the payment of maintenance fees.
7

8

9

10
                                        AMAZON PRODUCTS
11
          13.Defendant makes, uses, sells, offers for sale, and/or imports into the United
12

13   States and this District animal harness products (“Accused Products”) including
14   the products listed below:
15

16           Maker            Product                                  Product Link
                       Best Pet Supplies, Inc.    https://www.amazon.com/Adjustable-Mountain-Best-Pet-
17          Best Pet     - Voyager No-Pull       Supplies/dp/B01MRSDAVC/ref=sr_1_380?dchild=1&keywor
      1     Supplies    Adjustable Step-In       ds=pet+Harness&m=ATVPDKIKX0DER&qid=1632003698&re
18            inc.       Harness with 3 ft.      finements=p_6%3AATVPDKIKX0DER&rnid=2661622011&s=
19
                               Leash                              pet-supplies&sr=1-380
                                                       https://www.amazon.com/Coastal-Pet-Comfort-
20                      Coastal - New Earth                             Adjustable-
             Coastal
                       Soy - Adjustable Dog      Harness/dp/B0036PFUM4/ref=sr_1_1060?dchild=1&keywo
21    2        Pet
                       Harness, Rose, 3/8" x     rds=pet+Harness&m=ATVPDKIKX0DER&qid=1632004641&r
            Products
                              12"-18"            efinements=p_6%3AATVPDKIKX0DER&rnid=2661622011&s
22
                                                                 =pet-supplies&sr=1-1060
23                                                  https://www.amazon.com/Coastal-Pet-66445-PBO24-
             Costal    Coastal Pet 66445 A       Harness/dp/B00BCYHH9U/ref=sr_1_298?dchild=1&keywor
24    3       Pet      PBO24 Pet Harness,        ds=pet+Harness&m=ATVPDKIKX0DER&qid=1632003430&re
            Products     3/8-Inch, Bones         finements=p_6%3AATVPDKIKX0DER&rnid=2661622011&s=
25
                                                                  pet-supplies&sr=1-298
26

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28   FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT                                            CASE
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1                                                 https://www.amazon.com/Dickens-Closet-Personalized-
                                                                         Harness-
2                     Dickens' Closet Small
           Dickens'                             Flamingo/dp/B001VJ56P8/ref=sr_1_362?dchild=1&keywor
      4               Personalized Harness
3           Closet                             ds=pet+Harness&m=ATVPDKIKX0DER&qid=1632003698&re
                        in Flamingo Pink
                                               finements=p_6%3AATVPDKIKX0DER&rnid=2661622011&s=
4                                                                pet-supplies&sr=1-362
                                                https://www.amazon.com/Aspen-Products-Petmate-Step-
5                       Doskocil Petmate       Harness/dp/B00Y3L0VFQ/ref=sr_1_1282?dchild=1&keywor
6
      5    Doskocil    11113 Pet Supplies      ds=pet+Harness&m=ATVPDKIKX0DER&qid=1632005192&re
                          Dog Harness          finements=p_6%3AATVPDKIKX0DER&rnid=2661622011&s=
7                                                               pet-supplies&sr=1-1282
                                                https://www.amazon.com/GoGo-Pet-Products-Adjustable-
8                      GoGo Pet Products
                                                Harness/dp/B004H61K6Q/ref=sr_1_201?dchild=1&keywor
           GoGo Pet   Comfy Nylon 5/8-Inch
      6                                        ds=pet+Harness&m=ATVPDKIKX0DER&qid=1632003131&re
9          Products    Adjustable Easy Pet
                                               finements=p_6%3AATVPDKIKX0DER&rnid=2661622011&s=
                       Harness, Small, Red
10                                                               pet-supplies&sr=1-201
                                                   https://www.amazon.com/Guardian-Gear-Harness-15-
11                    Guardian Gear 2 Step     Electric/dp/B003WH1VQK/ref=sr_1_2114?dchild=1&keywo
           Guardian
      7               Pet Harness - Electric   rds=pet+Harness&m=ATVPDKIKX0DER&qid=1632006407&r
12           Gear
                              Lime             efinements=p_6%3AATVPDKIKX0DER&rnid=2661622011&s
13                                                              =pet-supplies&sr=1-2114
                                                https://www.amazon.com/Guardian-Gear-2-Step-Harness-
14                                              15/dp/B003WGXZRO/ref=sr_1_2569?dchild=1&keywords=
           Guardian   Guardian Gear 2 Step
      8                                         pet+Harness&m=ATVPDKIKX0DER&qid=1632007557&refin
15           Gear      Pet Harness Malibu
                                                ements=p_6%3AATVPDKIKX0DER&rnid=2661622011&s=pe
                                                                  t-supplies&sr=1-2569
16
                                                 https://www.amazon.com/Hamilton-Collection-Fashion-
                       Hamilton Pixie Pet
17                                                                   Adjustable-to16-
                      Collection Guys and
                                               Inch/dp/B00EY6RBJ4/ref=sr_1_175?dchild=1&keywords=pe
18    9    Hamilton      Dolls Fashion
                                               t+Harness&m=ATVPDKIKX0DER&qid=1632003045&refinem
                      Adjustable Easy on
                                                 ents=p_6%3AATVPDKIKX0DER&rnid=2661622011&s=pet-
19                     Harness for Dogs
                                                                    supplies&sr=1-175
20                                                https://www.amazon.com/Hamilton-Classic-Collection-
                       Hamilton Pixie Pet                                Fashion-
21                      Classic Collection      Adjustable/dp/B00F5PDDD6/ref=sr_1_2001?dchild=1&key
      10   Hamilton
                       Fashion Adjustable      words=pet+Harness&m=ATVPDKIKX0DER&qid=1632006267
22                    Easy on Dog Harness       &refinements=p_6%3AATVPDKIKX0DER&rnid=2661622011
23                                                             &s=pet-supplies&sr=1-2001
                      Kruz PET KZA201 Step          https://www.amazon.com/KRUZ-PET-KZA201-01M-
24                    In Mesh Dog Harness                              Adjustable-
                        – No Pull, Easy Fit     Harness/dp/B07FTX2YV6/ref=sr_1_22?dchild=1&keywords
25    11     Kruz
                          Adjustable Pet        =pet+Harness&m=ATVPDKIKX0DER&qid=1632001424&refi
                            Harness –          nements=p_6%3AATVPDKIKX0DER&rnid=2661622011&s=p
26
                          Comfortable,                             et-supplies&sr=1-22
27
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1                      Lightweight Padded
                       Harness for Walking
2
                        or Training Small,
3                       Medium, or Large
                              Dogs
4                                                https://www.amazon.com/LupinePet-Camo-Chic-24-38-
                                               Harness/dp/B001FPE6XG/ref=sr_1_1874?dchild=1&keywor
5          LupinePe   Lupine Designer Step
      12                                       ds=pet+Harness&m=ATVPDKIKX0DER&qid=1632005966&re
               t         in Dog Harness
6
                                               finements=p_6%3AATVPDKIKX0DER&rnid=2661622011&s=
                                                                pet-supplies&sr=1-1874
7                                                 https://www.amazon.com/LupinePet-Pink-10-13-Step-
                                               Harness/dp/B0040E60Q0/ref=sr_1_2451?dchild=1&keywor
8          LupinePe   Lupine 1/2" Hot Pink
      13                                       ds=pet+Harness&m=ATVPDKIKX0DER&qid=1632007302&re
               t      Step in Dog Harness
                                               finements=p_6%3AATVPDKIKX0DER&rnid=2661622011&s=
9
                                                                pet-supplies&sr=1-2451
10                                                  https://www.amazon.com/Martha-Stewart-Classic-
                       MARTHA STEWART                                  Webbing-
11         Martha     Classic Webbing with     Overlay/dp/B074JMWWBY/ref=sr_1_438?dchild=1&keywo
      14
           Stewart       Overlay Step-in       rds=pet+Harness&m=ATVPDKIKX0DER&qid=1632003953&r
12
                        Harness for Dogs       efinements=p_6%3AATVPDKIKX0DER&rnid=2661622011&s
13                                                              =pet-supplies&sr=1-438
                                                 https://www.amazon.com/OmniPet-Adjustable-Harness-
14                     OmniPet Adjustable                               Orange-
                       Step in Pet Harness,     Camouflage/dp/B072KH99QY/ref=sr_1_1044?dchild=1&ke
15    15   OmniPet
                         Mossy Oak Blaze       ywords=pet+Harness&m=ATVPDKIKX0DER&qid=163200453
                       Orange Camouflage       3&refinements=p_6%3AATVPDKIKX0DER&rnid=266162201
16
                                                              1&s=pet-supplies&sr=1-1044
17                                               https://www.amazon.com/OmniPet-Adjustable-Harness-
                       OmniPet Adjustable                              Realtree-
18                     Step in Pet Harness,    Camouflage/dp/B0721MTQH1/ref=sr_1_1045?dchild=1&ke
      16   OmniPet
                         Realtree Max-5        ywords=pet+Harness&m=ATVPDKIKX0DER&qid=163200453
19
                           Camouflage          3&refinements=p_6%3AATVPDKIKX0DER&rnid=266162201
20                                                            1&s=pet-supplies&sr=1-1045
                                                https://www.amazon.com/Pet-Attire-Comfort-Adjustable-
21
                        Pet Attire Styles
                                               Harness/dp/B001B4VNVO/ref=sr_1_1325?dchild=1&keywo
                         Comfort Wrap
      17 Pet Attire                            rds=pet+Harness&m=ATVPDKIKX0DER&qid=1632005257&r
22                     Adjustable Harness,
                                               efinements=p_6%3AATVPDKIKX0DER&rnid=2661622011&s
                              3/8"
23                                                             =pet-supplies&sr=1-1325
                                               https://www.amazon.com/Petcessory-Step-Harness-Large-
24                                             Yellow/dp/B01CSJA37U/ref=sr_1_2194?dchild=1&keyword
           Petcesso   Petcessory LED Step in
      18                                       s=pet+Harness&m=ATVPDKIKX0DER&qid=1632006654&refi
25            ry             Harness
                                               nements=p_6%3AATVPDKIKX0DER&rnid=2661622011&s=p
                                                                 et-supplies&sr=1-2194
26

27
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1                                              https://www.amazon.com/Aspen-Pet-Products-Petmate-
                      Petmate Aspen Pet
                                              Harness/dp/B00Y3L12N6/ref=sr_1_1492?dchild=1&keywor
2                      Products Step-in
      19   Petmate                            ds=pet+Harness&m=ATVPDKIKX0DER&qid=1632005526&re
                     Harness, Purple, 5/8"
3                                             finements=p_6%3AATVPDKIKX0DER&rnid=2661622011&s=
                          x 13-23"
                                                             pet-supplies&sr=1-1492
4                                              https://www.amazon.com/Petmate-Nylon-Step-Harness-
                                              Blue/dp/B010K9V9VE/ref=sr_1_2234?dchild=1&keywords=
5                    Petmate Nylon Step-in
      20   Petmate                            pet+Harness&m=ATVPDKIKX0DER&qid=1632006839&refin
                           Harness
6
                                              ements=p_6%3AATVPDKIKX0DER&rnid=2661622011&s=pe
                                                              t-supplies&sr=1-2234
7                       PetSafe Easy Walk
                      Dog Harness, No Pull
8                    Dog Harness – Perfect
                                               https://www.amazon.com/PetSafe-Harness-Large-BLACK-
                      for Leash & Harness
9                                             SILVER/dp/B0009ZBKG4/ref=sr_1_4?dchild=1&keywords=p
                      Training – Stops Pets
      21   PetSafe                            et+Harness&m=ATVPDKIKX0DER&qid=1632001424&refine
10                       from Pulling and
                                              ments=p_6%3AATVPDKIKX0DER&rnid=2661622011&s=pet-
                       Choking on Walks –
                                                                supplies&sr=1-4
11                      Works with Small,
                       Medium and Large
12                             Dogs
13                      PetSafe 3 in 1 Dog
                        Harness – No Pull
14                     Solution for Dogs –
                                                 https://www.amazon.com/PetSafe-Harness-Makers-
                      Choose from Chest,
15                                                                Adjustable-No-
                         Back or Seatbelt
                                              Pull/dp/B0716SZ2TY/ref=sr_1_7?dchild=1&keywords=pet+
      22   Petsafe         Attachment –
16                                            Harness&m=ATVPDKIKX0DER&qid=1632001424&refineme
                         Reflective Nylon
                                               nts=p_6%3AATVPDKIKX0DER&rnid=2661622011&s=pet-
17                   Perfect for Running or
                                                                 supplies&sr=1-7
                       Jogging – Front Clip
18                         Stops Light to
                         Moderate Pulling
19
                        PetSafe Easy Walk
20                    Deluxe Dog Harness,        https://www.amazon.com/PetSafe-Deluxe-Harness-
                     No Pull Dog Harness –                         Medium-
21                     Perfect for Leash &    Large/dp/B015TNVWEK/ref=sr_1_9?dchild=1&keywords=p
      23   Petsafe
                        Harness Training –    et+Harness&m=ATVPDKIKX0DER&qid=1632001424&refine
22                       Stops Pets from      ments=p_6%3AATVPDKIKX0DER&rnid=2661622011&s=pet-
                      Pulling and Choking                       supplies&sr=1-9
23
                             on Walks
24                      PetSafe Easy Walk
                                                https://www.amazon.com/PetSafe-EWH-C-HC-L-POP-
                     Chic Dog Harness, No
25                                                               Harness-Large-
      24   PetSafe      Pull Dog Harness –
                                              Poppies/dp/B071VV7S9R/ref=sr_1_40?dchild=1&keywords
                       Perfect for Leash &
26                                            =pet+Harness&m=ATVPDKIKX0DER&qid=1632002464&refi
                        Harness Training –
27
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1                         Stops Pets from     nements=p_6%3AATVPDKIKX0DER&rnid=2661622011&s=p
                       Pulling and Choking                   et-supplies&sr=1-40
2
                        on Walks – Works
3                      with Small, Medium
                          and Large Dogs
4                       PetSafe Easy Walk
                      Bling Dog Harness, No
5                       Pull Dog Harness –
                                              https://www.amazon.com/PetSafe-Bling-Harness-Medium-
6
                       Perfect for Leash &
                                              Silver/dp/B01E6THWFG/ref=sr_1_132?dchild=1&keywords
                        Harness Training –
      25   Petsafe                            =pet+Harness&m=ATVPDKIKX0DER&qid=1632002851&refi
7                         Stops Pets from
                                              nements=p_6%3AATVPDKIKX0DER&rnid=2661622011&s=p
                       Pulling and Choking
8                                                              et-supplies&sr=1-132
                        on Walks – Works
                       with Small, Medium
9
                          and Large Dogs
10                                               https://www.amazon.com/PetSafe-Easy-Harness-Black-
                       PetSafe Easy Walk
                                              Large/dp/B000BHT5OE/ref=sr_1_225?dchild=1&keywords=
                         Dog Harness,
11    26   Petsafe                            pet+Harness&m=ATVPDKIKX0DER&qid=1632003314&refin
                       Red/Black, Large,
                                              ements=p_6%3AATVPDKIKX0DER&rnid=2661622011&s=pe
12                      EWH-HC-L-RED
                                                                  t-supplies&sr=1-225
13                                               https://www.amazon.com/Puppia-PARA-HX1523-NC-L-
                      Puppia PARA-HX1523-
                                                              Bobby-Harness-Pet-Halter-
                        NC-L Navy Camo
14                                            Harnesses/dp/B06ZZFZQ13/ref=sr_1_98?dchild=1&keywor
      27   Puppia     Bobby Harness X Pet-
                                              ds=pet+Harness&m=ATVPDKIKX0DER&qid=1632002730&re
15                      Halter-Harnesses,
                                              finements=p_6%3AATVPDKIKX0DER&rnid=2661622011&s=
                              Large
                                                                 pet-supplies&sr=1-98
16
                                                 https://www.amazon.com/Puppia-PARA-HX1523-SN-L-
                      Puppia PARA-HX1523-
17                                                           Striped-Harness-Pet-Halter-
                        SN-L Striped Navy
                                              Harnesses/dp/B071RGB385/ref=sr_1_1112?dchild=1&keyw
18    28   Puppia     Bobby Harness X Pet-
                                              ords=pet+Harness&m=ATVPDKIKX0DER&qid=1632004743&
                        Halter-Harnesses,
                                              refinements=p_6%3AATVPDKIKX0DER&rnid=2661622011&
19                            Large
                                                              s=pet-supplies&sr=1-1112
20                                              https://www.amazon.com/Puppia-Baxter-Harness-Small-
                                              Black/dp/B07B6Q5HFL/ref=sr_1_2138?dchild=1&keywords
                       Puppia Life - Baxter
21    29   Puppia                             =pet+Harness&m=ATVPDKIKX0DER&qid=1632006483&refi
                           Harness X
                                              nements=p_6%3AATVPDKIKX0DER&rnid=2661622011&s=p
22                                                              et-supplies&sr=1-2138
23                                            https://www.amazon.com/RC-Pet-Products-Harness-28-40-
                      RC Pet Products Step    Inch/dp/B007KX54M4/ref=sr_1_375?dchild=1&keywords=
            RC Pet
24    30                in Dog Harness,       pet+Harness&m=ATVPDKIKX0DER&qid=1632003698&refin
           Products
                            Nirvana           ements=p_6%3AATVPDKIKX0DER&rnid=2661622011&s=pe
25                                                                t-supplies&sr=1-375
            RC Pet    RC Pet Products 3/4-         https://www.amazon.com/RC-Pet-Products-4-Inch-
26    31
           Products     Inch Step in Dog      Harness/dp/B0080E0SDW/ref=sr_1_1322?dchild=1&keywo
27
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1                     Harness, Medium,    rds=pet+Harness&m=ATVPDKIKX0DER&qid=1632005257&r
                        Sorbet Smoke      efinements=p_6%3AATVPDKIKX0DER&rnid=2661622011&s
2
                                                          =pet-supplies&sr=1-1322
3                                           https://www.amazon.com/RC-Pet-Products-Harness-X-
                    RC Pet Products 1/2-
                                          Small/dp/B00A20SZXW/ref=sr_1_1470?dchild=1&keywords
          RC Pet       Inch Step in Dog
4     32                                  =pet+Harness&m=ATVPDKIKX0DER&qid=1632005413&refi
         Products     Harness, X-Small,
                                          nements=p_6%3AATVPDKIKX0DER&rnid=2661622011&s=p
5                          Bracken
                                                            et-supplies&sr=1-1470
6                                            https://www.amazon.com/SMALLLEE_LUCKY_STORE-
                   SMALLLEE_LUCKY_ST
                                                           Nylon-Puppy-Harness-X-
         Smalllee_ ORE 8"-13" Nylon Pet
7                                         Small/dp/B01JII5PH2/ref=sr_1_1157?dchild=1&keywords=
      33 Lucky_St   Puppy Small Toy Dog
                                          pet+Harness&m=ATVPDKIKX0DER&qid=1632004990&refin
8           ore        Polka Dots Strap
                                          ements=p_6%3AATVPDKIKX0DER&rnid=2661622011&s=pe
                      Harness Leash Set
                                                            t-supplies&sr=1-1157
9
                                             https://www.amazon.com/SMALLLEE_LUCKY_STORE-
                   SMALLLEE_LUCKY_ST
10                                                        Nylon-Reflective-Harness-
         Smalllee_ ORE 18"-25" Nylon Pet
                                          Medium/dp/B01JII4DW0/ref=sr_1_1617?dchild=1&keywor
11
      34 Lucky_St   Large Dog Reflective
                                          ds=pet%2BHarness&m=ATVPDKIKX0DER&qid=1632005678
            ore     Strap Harness Leash
                                          &refinements=p_6%3AATVPDKIKX0DER&rnid=2661622011
12                            Set
                                                       &s=pet-supplies&sr=1-1617&th=1
13                                           https://www.amazon.com/Terrain-D-O-G-Nylon-Dog-
                                          Harness/dp/B01MR2YBR3/ref=sr_1_1117?dchild=1&keywo
          Terrain   Terrain D.O.G. Nylon
14    35                                  rds=pet+Harness&m=ATVPDKIKX0DER&qid=1632004743&r
          D.O.G.         Dog Harness
                                          efinements=p_6%3AATVPDKIKX0DER&rnid=2661622011&s
15                                                        =pet-supplies&sr=1-1117
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                                               https://www.amazon.com/Terrain-D-G-Reflective-
                        Terrain D.O.G.     Neoprene/dp/B00VMU0J4Y/ref=sr_1_1225?dchild=1&key
          Terrain
17    36            Reflective Neoprene words=pet+Harness&m=ATVPDKIKX0DER&qid=1632005101
          D.O.G.
                     Lined Dog Harness    &refinements=p_6%3AATVPDKIKX0DER&rnid=2661622011
18                                                       &s=pet-supplies&sr=1-1225
                        Terrain D.O.G.         https://www.amazon.com/Terrain-D-G-Reflective-
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                    Reflective Neoprene   Neoprene/dp/B084DWS2BD/ref=sr_1_1953?dchild=1&key
          Terrain
20    37             Lined Dog Harness,   words=pet+Harness&m=ATVPDKIKX0DER&qid=1632006064
          D.O.G.
                   Blue Bay, Large, 20-33 &refinements=p_6%3AATVPDKIKX0DER&rnid=2661622011
21                      inch Girth Size                  &s=pet-supplies&sr=1-1953
                                           https://www.amazon.com/Weaver-Pet-Prism-Step-n-Go-
22
                                          Harness/dp/B005JERK2I/ref=sr_1_299?dchild=1&keywords
          Weaver      Weaver Pet Prism
23    38                                  =pet+Harness&m=ATVPDKIKX0DER&qid=1632003430&refi
            Pet      Step-n-Go Harness
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24                                                          et-supplies&sr=1-299
          Yellow                            https://www.amazon.com/Yellow-Dog-Design-Harness-
25    39   Dog       Dog Collar Control   Medium/dp/B0088LPBFC/ref=sr_1_127?dchild=1&keyword
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          Design                          s=pet%2BHarness&m=ATVPDKIKX0DER&qid=1632002851&

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                                                           s=pet-supplies&sr=1-127&th=1
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                                                https://www.amazon.com/Yellow-Dog-Design-Harness-
                        Yellow Dog Design
3             Yellow                          Circumference/dp/B01N057XBY/ref=sr_1_1710?dchild=1&
                         Standard Step-in
      40       Dog                            keywords=pet+Harness&m=ATVPDKIKX0DER&qid=1632005
                          Harness, Doggy
4             Design                          806&refinements=p_6%3AATVPDKIKX0DER&rnid=2661622
                             Delights
                                                          011&s=pet-supplies&sr=1-1710
5                                               https://www.amazon.com/Yellow-Dog-Design-Harness-
6                        Yellow Dog Design                             Large-
              Yellow
                       Blue and Brown Polka   1/dp/B01N3TXG2F/ref=sr_1_1970?dchild=1&keywords=pet
      41       Dog
7                         Dot Step-in Dog     +Harness&m=ATVPDKIKX0DER&qid=1632006113&refinem
              Design
                              Harness          ents=p_6%3AATVPDKIKX0DER&rnid=2661622011&s=pet-
8                                                               supplies&sr=1-1970
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14
                             COUNT 1 FOR INFRINGEMENT OF

15                                 U.S. PATENT NO. 6,708,650
16         14.Plaintiff repeats, re-alleges, and incorporates by reference as though fully
17   set forth herein, the allegations contained in all preceding paragraphs of this
18
     Complaint.
19
           15.On March 23, 2004, the ‘650 Patent was duly and legally issued by the
20
     USPTO under the title “Method for Installing an Exercising Harness on an
21
     Animal.” The ‘650 Patent is referred to as the “Asserted Patent.”
22

23
           16.Ms. Yates is the sole inventor and sole owner of the right, title, and interest

24   in and to the ‘650 Patent, with the rights to assert all causes of action arising
25   under the ‘650 Patent and right to collect any remedies for infringement of it. Ms.
26

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1
     Yates is the sole owner of the ‘650 Patent and has been the sole owner since
2
     issuance.
3

4
        17.On information and belief, Defendant has and continues to directly infringe

5    either literally or under the doctrine of equivalents, or both, or indirectly infringe
6    at least Claims 1 and 6 by selling, offering to sell, making, using, providing,
7    causing to be used, instructing, directing, and/or requiring others to perform all or
8
     some of the steps of the method claims, either literally or under the doctrine of
9
     equivalents. Defendant directly or indirectly infringes, literally or under the
10
     doctrine of equivalents by selling, offering to sell, making, using, providing,
11
     causing to be used the Accused Products and by inducing customers to perform
12

13   all or some of the steps of the method claim.
14      18.On information and belief, the Accused Products have been used to
15   infringe and continue to directly infringe or indirectly infringe at least Claims 1
16   and 6 of the ‘650 Patent during the pendency of the ‘650 Patent.
17
        19.On information and belief, the Accused Products include each and every
18
     element of Claim 6:
19
           A harness for a four-legged animal, the harness comprising:
20

21
                  a first adjuster;

22                a second adjuster;
23                a strap having a first end loop and a second end loop;
24                a first leg loop; and
25
                  a second leg loop,
26
                wherein the strap extending from the first end loop is
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1
                         inserted
2
                         through the first leg adjuster and then back through the first
3

4
                  leg adjuster forming the first leg loop,

5                        then through the second adjuster and back through the second
6                 adjuster forming the second leg loop, and
7                        then through the first end loop forming a triangular-shaped
8
                  opening with the first adjuster, second adjuster and first end loop as
9
                  the apexes for the triangular opening, wherein the triangular opening
10
                  is for the head or the tail of the animal depending if installed on the
11
                  chest of the animal or on the rear end of the animal, respectively.
12

13      20.Each and every one of the Accused Products is an animal harness that
14   includes each and every element of Claim 6, including the strap having the first
15   end loop and second end loop, the first and second adjusters, the first leg loop
16   and second leg loop. Each and every one of the Accused Products includes the
17
     strap extending from the first end loop inserted through the first leg adjuster and
18
     then back through the first leg adjuster forming the first leg loop, and then
19
     through the second adjuster and back through the second adjuster forming the
20

21
     second leg loop, and through the first end loop forming a triangular-shaped

22   opening with the first adjuster, second adjuster and first end loop as the apexes
23   for the triangular opening, with the triangular opening for the head or the tail of
24   the animal depending if installed on the chest of the animal or on the rear end of
25
     the animal, respectively.
26

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1
        20.On information and belief, Defendant induces infringement by their
2
     customers of each and every element of Claim 1:
3

4
           A method of installing a harness on a four-legged animal used to aid in

5       training and exercising the animal and to aid in urging the animal from a
6       sitting position to an upright position, wherein the animal has a rear back, a
7       rear end, a left rear leg, a left rear leg pit, a right rear leg and a right rear leg
8
        pit, harness comprises:
9
               a first loop,
10
               a second loop, and
11
               a first connecting portion, wherein said first and second loops are
12

13         connected to the first connecting portion,
14         said method comprising:
15             placing the first loop substantially around the left rear leg; placing the
16         second loop substantially around the right rear leg;
17
               placing the first connecting portion adjacent the rear back such that the
18
           first and second loops are below the left and right hind leg pits,
19
           respectively; and
20

21
               attaching the first connecting portion directly or indirectly to a leash,

22         whereby pulling the first connecting portion in a forward direction relative
23         to the animal causes the first and second loops to come into contact with
24         the left and right rear leg pits and impose pressure thereon urging the
25
           animal to take action to release the pressure by sitting up and or moving
26
           forward.
27
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        21.Since at least the time of receiving this Complaint Amazon has had actual
2
     notice that it is directly infringing and/or indirectly infringing the ‘650 Patent.
3

4
        22.The Accused Products are used, marketed, provided to, and/or used by or

5    for each of Defendant’s partners, affiliates, subsidiaries, vendors, clients,
6    customers, and/or end users in this District.
7       23.On information and belief, since at least the time of receiving this
8
     Complaint, PetSmart has induced and continues to induce others to infringe at
9
     least Claim 1 of the ‘650 Patent under 35 U.S.C. § 271(b) with specific intent or
10
     willful blindness, by, among other things, actively aiding and abetting others to
11
     infringe, including, but not limited to, Defendant’s customers, whose use of the
12

13   Accused Products constitute direct infringement of at least claim 1 of the ‘650
14   Patent.
15      24.In particular, Defendant’s actions that aid and abet the infringement of
16   others, such as their customers, by distributing the Accused Products, providing
17
     instructions, materials and/or services related to the Accused Products. On
18
     information and belief, Defendant has engaged in such actions with specific
19
     intent to cause infringement or with willful blindness to the resulting
20

21
     infringement, because Defendant has had actual notice of the ‘650 Patent and that

22   its acts were inducing infringement of the ‘650 Patent since at least the time of
23   receiving this Complaint.
24      25.23.    On information and belief, Defendant’s infringement has been and
25
     continues to be willful.
26
        26.24.  Plaintiff has been harmed by Defendant’s infringing activities.
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        27.25.    As a result of Defendant’s unlawful activities, Plaintiff has suffered
2
     and will continue to suffer irreparable harm for which there is no adequate
3

4
     remedy at law. Ms. Yates is actively engaged in licensing the patented

5    technology. Defendant’s continued infringement of the Asserted Patent causes
6    harm to Plaintiff in the form of price erosion, loss of goodwill, damage to
7    reputation, loss of business opportunities, inadequacy of money damages, and
8
     direct and indirect competition. Monetary damages are insufficient to compensate
9
     Plaintiff for these harms. Accordingly, Plaintiff is entitled to preliminary and/or
10
     permanent injunctive relief.
11

12

13                                  PRAYER FOR RELIEF
14   WHEREFORE, Plaintiff Rachel Yates prays for relief as follows:
15      1. For an Order enjoining Defendant, their officers, agents, employees, and
16   those acting in concert or conspiracy with them, temporarily during the pendency
17
     of this action and permanently thereafter from infringing, or inducing
18
     infringement by others, of the ‘650 Patent;
19
        2. A judgment declaring that Defendant has directly and/or indirectly
20

21
     infringed one or more claims of the ‘650 Patent in violation of 35 U.S.C. § 271.;

22      3. A judgment, pursuant to 35 U.S.C. § 284, awarding Plaintiff damages
23   adequate to compensate Plaintiff for Defendant’s infringement of the ‘650 Patent,
24   in an amount to be determined at trial, but in no event less than a reasonable
25
     royalty.;
26

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1
        4. An order, pursuant to 35 U.S.C. § 284, finding that Defendant’s
2
     infringement has been willful and deliberate and awarding to Plaintiff up to treble
3

4
     damages;

5       5. A judgment, pursuant to 35 U.S.C. § 284, awarding Plaintiff interest on the
6    damages and its costs incurred in this action;
7       6. An award of pre-judgment and post-judgment interest and costs to Plaintiff
8
     pursuant to 35 U.S.C. § 284.;
9
        7. An order, pursuant to 35 U.S.C. § 285, finding that this is an exceptional
10
     case and awarding to Plaintiff its reasonable attorneys’ fees incurred in this
11
     action; and
12

13      8. For other such relief as the court deems just and proper.
14

15                                    JURY DEMAND
16      Plaintiff demands a trial by jury on all issues triable as such.
17

18                                           Respectfully Submitted,
19
     Dated: September November 2021, 2021                  ZHEN LAW FIRM
20

21                                           By: /s/ Chris J. Zhen                      _
                                             Chris J. Zhen (State Bar No. 275575)
22
                                             ZHEN LAW FIRM
23                                           5670 Wilshire Blvd #1800
24
                                             Los Angeles, CA 90036
                                             Telephone: (213) 935-0715
25                                           chris.zhen@zhenlawfirm.com
26
                               Attorneys for Plaintiff Rachel Yates
27
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